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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Floyd E. Patterson, Jr.

Plaintiff
Civil Action No.: 16-1604
V.
Janine Quigley, Warden, et. al : Jury Trial Demanded
Defendants :

 

ANSWER TO PLAINTIFF’S PRO SE AMENDED COMPLAINT WITH
AFFIRMATIVE DEFENSES

Defendants Janine Quigley, Lieutenant Castro, Correctional Officer Cunningham,
Correctional Officer Dew and Correctional Officer Gurry (collectively “Berks County
Defendants”), by and through their attorneys, Deasey, Mahoney & Valentini, Ltd., hereby
respond to Plaintiff's pro se Amended Complaint as follows’:

I. Parties to the Complaint:

A. Admitted.

B. Admitted in part; denied in part. It is admitted that Janine Quigley, Lieutenant
Castro, Correctional Officer Cunningham and Correctional Officer Dew are employees of the
Berks County Jail, 1287 County Welfare Road, Leesport, Pennsylvania 19533. It is denied that
Correctional Officer Gurry is currently employed by the Berks County Jail.

II. Statement of Claim:

A. Denied. The averments are denied as conclusions of law to which no response is

required. To the extent that the averments are not deemed conclusions of law, after reasonable

investigation, the Berks County Defendants are without knowledge or information sufficient to

 

' The Berks County Defendants submit this Answer to the extent required by this Honorable
Court’s rulings on their Motions to Dismiss as set forth more fully in the March 30, 2018 Order
(Docket No. 51) and April 26, 2018 Order (Docket No. 52).

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form a belief as to the truth of the averments contained herein. The allegations are therefore
denied and strict proof is demanded at the time of trial.

B. Denied. The averments are denied as conclusions of law to which no response is
required. To the extent that the averments are not deemed conclusions of law, after reasonable
investigation, the Berks County Defendants are without knowledge or information sufficient to
form a belief as to the truth of the averments contained herein. The allegations are therefore
denied and strict proof is demanded at the time of trial.

C. Denied. The averments are denied as conclusions of law to which no response is
required. To the extent that the averments are not deemed conclusions of law, after reasonable
investigation, the Berks County Defendants are without knowledge or information sufficient to
form a belief as to the truth of the averments contained herein. The allegations are therefore
denied and strict proof is demanded at the time of trial.

D. Denied. The averments are denied as conclusions of law to which no response is
required. To the extent that the averments are not deemed conclusions of law, after reasonable
investigation, the Berks County Defendants are without knowledge or information sufficient to
form a belief as to the truth of the averments contained herein. The allegations are therefore
denied and strict proof is demanded at the time of trial.

III. Injuries:

A. Denied. The averments are denied as conclusions of law to which no response is
required. To the extent that the averments are not deemed conclusions of law, after reasonable
investigation, the Berks County Defendants are without knowledge or information sufficient to
form a belief as to the truth of the averments contained herein. The allegations are therefore

denied and strict proof is demanded at the time of trial.

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B. Denied. The averments are denied as conclusions of law to which no response is
required. To the extent that the averments are not deemed conclusions of law, after reasonable
investigation, the Berks County Defendants are without knowledge or information sufficient to
form a belief as to the truth of the averments contained herein. The allegations are therefore
denied and strict proof is demanded at the time of trial.

C, Denied. The averments are denied as conclusions of law to which no response is
required. To the extent that the averments are not deemed conclusions of law, after reasonable
investigation, the Berks County Defendants are without knowledge or information sufficient to
form a belief as to the truth of the averments contained herein. The allegations are therefore
denied and strict proof is demanded at the time of trial.

D. Denied. The averments are denied as conclusions of law to which no response is
required. To the extent that the averments are not deemed conclusions of law, after reasonable
investigation, the Berks County Defendants are without knowledge or information sufficient to
form a belief as to the truth of the averments contained herein. The allegations are therefore
denied and strict proof is demanded at the time of trial.

IV. Exhaustion of Administrative Remedies:

A. Denied.

B. Admitted.

C, Admitted.

D. Admitted in part, denied in part. The Berks County Defendants admit that
Plaintiff filed grievance(s) generally. However, after reasonable investigation, the Berks County
Defendants deny that Plaintiff's grievances covered all allegations in is Amended Complaint, or

that Plaintiff has exhausted his administrative remedies.

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E. Denied. The averments are denied as conclusions of law to which no response is
required. To the extent that the averments are not deemed conclusions of law, after reasonable
investigation, the Berks County Defendants are without knowledge or information sufficient to
form a belief as to the truth of the averments contained herein. The allegations are therefore
denied and strict proof is demanded at the time of trial.

F, No response is required of Answering Defendants.

G. Denied. After reasonable investigation, the Berks County Defendants are without
knowledge or information sufficient to form a belief as to the truth of the averments contained
herein. The allegations are therefore denied and strict proof is demanded at the time of trial.

V. Relief:

Denied. The averments are denied as conclusions of law to which no response is
required.

VI. _—_— Previous lawsuits:

A. Denied. After reasonable investigation, the Berks County Defendants are without
knowledge or information sufficient to form a belief as to the truth of the averments contained
herein. The allegations are therefore denied and strict proof is demanded at the time of trial.

B. Denied. After reasonable investigation, the Berks County Defendants are without
knowledge or information sufficient to form a belief as to the truth of the averments contained
herein. The allegations are therefore denied and strict proof is demanded at the time of trial

WHEREFORE, the Berks County Defendants demand judgment in their favor along

with costs, attorney fees and such other relief as this Honorable Court deems appropriate.

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AFFIRMATIVE DEFENSES
FIRST AFFIRMATIVE DEFENSE
Plaintiff has not stated and cannot sustain a cause of action against the Berks County
Defendants upon which relief may be granted.
SECOND AFFIRMATIVE DEFENSE
Plaintiff was afforded all constitutional rights and protections to which he was entitled at
all times material to the incidents in Plaintiff's Amended Complaint(s).
THIRD AFFIRMATIVE DEFENSE
At all relevant time, the Berks County Defendants’ conduct was reasonable under the
circumstances,
FOURTH AFFIRMATIVE DEFENSE
The Berks County Defendants are entitled to good faith, official, high public official,
qualified and/or absolute immunity to Plaintiffs claims.
FIFTH AFFIRMATIVE DEFENSE
No act or omission of the Berks County Defendants were the proximate cause or legal
cause of any damages allegedly sustained by Plaintiff.
SIXTH AFFIRMATIVE DEFENSE
Plaintiff failed to mitigate his alleged damages.
SEVENTH AFFIRMATIVE DEFENSE
Plaintiff has not averred and cannot prove a claim for punitive damages against the Berks
County Defendants.
EIGHTH AFFIRMATIVE DEFENSE

Although Plaintiff has not brought his Amended Complaint against the Berks County

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Defendants in their official capacity, to the extent that this Court should construe such claims as
being brought against the Berks County Defendants in their official capacity, such claims must
be dismissed as Plaintiff cannot establish a custom, policy, pattern or practice of the Berks
County Defendants in their official capacity which violated Plaintiffs civil rights, much less a
sufficient nexus between Plaintiffs alleged damages and a policy or custom of the Berks County
Defendants.
NINTH AFFIRMATIVE DEFENSE

The Berks County Defendants did not engage in a custom, policy, pattern or practice

which deprived Plaintiff of his constitutional rights.
TENTH AFFIRMATIVE DEFENSE

All claims against the Berks County Defendants are barred by the applicable statute of

limitations and/or doctrine of laches.
ELEVENTH AFFIRMATIVE DEFENSE

Plaintiff's claims are frivolous, thereby entitling the Berks County Defendants to costs

and attorney’s fees pursuant to 42 U.S.C. §§ 1983, 1988 and/or Rule 11.
TWELFTH AFFIRMATIVE DEFENSE

At all times relevant to this matter the Berks County Defendants in no way violated any
rights, privileges or immunities to which Plaintiff is entitled under the United States
Constitution, the Pennsylvania Constitution, or the laws of the United States or the
Commonwealth of Pennsylvania.

THIRTEENTH AFFIRMATIVE DEFENSE
Plaintiff's damages were caused or contributed to, in who or in part, by the intervening

negligence, carelessness and/or recklessness or persons, parties and/or entities other than the

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Berks County Defendants and over whom the Berks County Defendants have no control or right
of control, and for whom the Berks County Defendants have no responsibility.
FOURTEENTH AFFIRMATIVE DEFENSE
Plaintiff has failed to exhaust his administrative remedies.
FIFTEENTH AFFIRMATIVE DEFENSE
The Berks County Defendants are entitled to the protections and defenses contained
within the Prison Litigation Reform Act, 42 U.S.C. §1997, et seq. All defenses therein are
incorporated by reference as though fully set forth herein.
SIXTEENTH AFFIRMATIVE DEFENSE
Plaintiff has failed to adequately plead and/or meet all prerequisites to filing suit as
required by the Prison Litigation Reform Act, 42 U.S.C. §1997, et seq.
SEVENTEENTH AFFIRMATIVE DEFENSE
Plaintiff's claims for mental and/or emotional injury are limited pursuant to the terms of
the Prison Litigation Reform Act, 42 U.S.C. §1997, et seq.

EIGHTEENTH AFFIRMATIVE DEFENSE

 

Although the Berks County Defendants specifically deny that Plaintiff is entitled to
damages, fees and/or costs, in the unlikely event that such award would be made, Plaintiff's

attorney’s fees and costs must be limited pursuant to the terms of the Prison Litigation Reform

Act, 42 U.S.C. §1997, et seq.

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WHEREFORE, the Berks County Defendants, demand judgment in their favor along

with costs, attorney fees and such other relief as this Honorable Court deems appropriate.

Date: May 8, 2018

Respectfully submitted,

DEASEY, MAHONEY & VALENTINI, LTD.

/s/ Adam J. Gomez
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ADAM J. GOMEZ, ESQUIRE
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Mark Scott, Christian Leinbach, Lieutenant Castro,
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Dew and Correctional Officer Gurry

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CERTIFICATE OF SERVICE

I, Adam J. Gomez, Esquire, certify that a true and correct copy of Defendants’ Answer to

Plaintiff's Pro Se Amended Complaint with Affirmative Defenses was filed electronically and is

available for viewing and downloading from the ECF system. I further certify that I served the

foregoing document upon the following individual(s) via U.S. mail this g” day of May, 2018.

Date: May 8, 2018

SUITE 3400

Floyd E. Patterson, Jr. #MC0075
SCI Somerset
1600 Walters Mill Road
Somerset, PA 15510

DEASEY, MAHONEY & VALENTINI, LTD.

/s/ Adam J. Gomez
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